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                             UNITED STATES BANKRUPTCY COURT
                                           Northern District of Indiana
                                              Fort Wayne Division
In Re: Debtor(s) (name(s) and address)                  )
Gary E. Pettiford Sr.                                   )
xxx−xx−0256                                             )
2010 Wilno Street                                       ) Case Number: 16−11924−reg
Marion, IN 46952                                        )
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                              NOTICE TO ADDITIONAL CREDITORS
   An order for relief under Chapter 7 of the Bankruptcy Code was entered on a petition filed by the
above−captioned debtor(s) on September 8, 2016 , and an amendment to the schedules listing additional creditors
was filed on August 1, 2017 .

  NOTICE IS HEREBY GIVEN THAT:

    1.        The § 341 meeting of creditors was set for July 18, 2017 , at 10:30 a..m. at Federal Building,
              Room 1194, 1300 South Harrison Street, Fort Wayne, Indiana, 46802.

    2.        The last day for filing a complaint to determine dischargeability of debts pursuant to 11 U.S.C. §
              523(c) is December 12, 2016 . If this date passed before the date of this Notice, your right to
              have a debt excepted from discharge may be preserved under 11 U.S.C. § 523(a)(3).

    3.        The last day for filing objections to the discharge of the debtor(s) pursuant to 11 U.S.C. § 727 is
              December 12, 2016 . If this date passed before the date of this Notice, you may have the right to
              file a proceeding for revocation of the debtor(s)' discharge under 11 U.S.C. § 727(d).

    4.        In most instances, the filing of the bankruptcy case automatically stays certain collection and
              other actions against the debtor and the debtor's property as provided in 11 U.S.C.§ 362(a).

    5.        It appears from the schedules of the debtor that there are NO ASSETS from which any dividend
              can be paid to creditors. It is not necessary for any creditor to file a claim at this time. If it
              subsequently appears that there are assets from which a dividend may be paid, creditors will be
              so notified and given opportunity to file a claim, in duplicate, on Official Form No. 410.


   Dated: August 8, 2017


                                                                          Christopher M. DeToro
                                                                          ______________________________________
                                                                          Clerk, United States Bankruptcy Court
                                                                          Federal Building, Room 1188
                                                                          1300 South Harrison Street
                                                                          Fort Wayne, Indiana 46802


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